Case 22-16605-EPK Doc3_ Filed 08/26/22 Page 1 of3

Tam TMi coleirleltm Com (e(-al tinny cel Laer: ioe

Debtor 1 Maria E Matthews

First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida

Case number
(If known)

fed iT=tos elim ole Melt N-meleatea eM Eee LiLo ML)

eC P74 St bolt] oo

i 1. There is no presumption of abuse.

L) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Caiculation (Official Form 122A~2).

() 3. The Means Test does not apply now because of
qualified military service but it could apply later.

CJ Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

aa Calculate Your Current Monthly Income

12/19

1. What is your marital and filing status? Check one only.

A Not married. Fill out Column A, lines 2-11.
() Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

() Married and your spouse is NOT filing with you. You and your spouse are:
LJ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

L) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, Salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $2,616.81 $0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. $0.00 $0.00
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not 0.00 0.00

filled in. Do not include payments you listed on line 3. $0.00 $U.00
5. ne meee from operating a business, profession, Debtor 4 Debtor 2

Gross receipts (before all deductions) $0.00 $0.00 __

Ordinary and necessary operating expenses -— $0.00 —g$0.00

Net monthly income from a business, profession, or farm $0.00 $0.00 rane $0.00 $0.00
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $0.00 $0.00 __

Ordinary and necessary operating expenses — $0.00 -— $0.00

Net monthly income from rental or other real property $ $0.00 roy $0.00 $0.00
7. Interest, dividends, and royalties $0.00 $0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

Debtor 1 Maria E Matthews Case number (if known)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation g 0.00 g 0.00

10.

11,

Case 22-16605-EPK Doc3_ Filed 08/26/22 Page 2 of 3

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: 0... eee

FOP YOU .necsscesssseessstessseeeessstecssrecsneessesensens _ $0.00
g 0.00

Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled if
retired under any provision of title 10 other than chapter 61 of that title. $0.00
Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.
Roommate rent contribution ¢ 333.33 g 0.00

For your spouse

Total amounts from separate pages, if any. + 3 0.00 + 0.00

Calculate your total current monthly income. Add lines 2 through 10 for each +
column. Then add the total for Column A to the total for Column B. g 2,950.14 g 0.00

g 0.00

g 0.00 g 0.00

$2,950.14

Ey Determine Whether the Means Test Applies to You

Total current
monthly income

12. Calculate your current monthly income for the year. Follow these steps:

13.

14.

12a. Copy your total current monthly income from liN€ 11........eseeseecs testes tees teeeneeseteeteenneesnseessecssessssesevecaneessieny Copy line 11 heres»

Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form. 12b.

Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. FL

Fill in the number of people in your household. 1

Fill in the median family income for your state and size of household. .............cee

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

How do the lines compare?

14a. Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2.

14b, L) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A—2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

g 2,950.14

x 12
$ 35,401.68

¢ 55,681.00

page 2

Case 22-16605-EPK Doc3 Filed 08/26/22 Page 3 of 3

Debtor 1 Maria E Matthews Case number (if known)

First Name Middle Name Last Name

Bysigning here-| declare under pénalty of perjury that the information on this statement and in any attachments is true and correct.
Lo Oe Zp
“ 4 Zo a
CRC Fx -@ Lx [ > x
Signature of Debtor 1 Signature of Debtor 2
bate 08/25/2022 Sisk
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A—2.
If you checked line 14b, fill out Form 122A-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3

